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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION

IN RE:                                          : CASE NO: 20-21358-JRS
                                                : CHAPTER: 13
                                                :
GLENN MICHAEL HEAGERTY, JR.                     :
    Debtor                                      :
                                                :

                       NOTICE OF APPEARANCE AND REQUEST
                          FOR SERVICE OF ALL NOTICES

       American Mortgage Investment Partners Management LLC (hereinafter referred to as

“Creditor”) hereby enters its appearance and the law firm of Rubin Lublin, LLC, pursuant to

Bankruptcy Rules 2002 and 9010, hereby enters their appearance as attorneys for Creditor with

regard to all matters and proceedings, pleadings and complaints and adversary proceedings filed

in connection with the above-referenced case, showing counsel's name, office address and

telephone number as follows:

                                       Lisa F. Caplan, Esq.
                                       Rubin Lublin, LLC
                               3145 Avalon Ridge Place, Suite 100
                                  Peachtree Corners, GA 30071
                                         (877) 813-0992
                                    lcaplan@rubinlublin.com

and hereby requests that the Clerk of Court add the Law Firm to the mailing matrix for said

Creditor.
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       PLEASE TAKE FURTHER NOTICE that this request is made without submitting to the

jurisdiction of the Court, without waiving service of process or otherwise waiving any rights.


Respectfully submitted,

Rubin Lublin, LLC

By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor



                                  CERTIFICATE OF SERVICE

       I, Lisa F. Caplan of Rubin Lublin, LLC certify that I caused a copy of the Notice of
Appearance to be served by depositing a copy of same in the United States Mail in a properly
addressed envelope with adequate postage thereon to the said parties as follows:


Glenn Michael Heagerty, Jr.
2890 Willow Wisp Way
Cumming, GA 30040

Nancy J. Whaley, Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

This 8th day of October, 2020

/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
